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         Plaintiffs’ Motion To Deem Established That Defendants Elliott Kline And
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        VIDEO EXHIBIT – FILED WITH COURT

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